
722 S.E.2d 608 (2012)
STATE of North Carolina
v.
Jarrell Damont WILSON.
No. 14P12.
Supreme Court of North Carolina.
March 8, 2012.
Ann B. Petersen, Chapel Hill, for Wilson, Jarrell Damont.
Sandra Wallace-Smith, Special Deputy Attorney General, for State of North Carolina.
Ernie Lee, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 10th of January 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
